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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

   IN RE:                                         §                CHAPTER 11
                                                  §
   CHILAQUILES FACTORY, LLC                       §                CASE NO. 22-10170
                                                  §
                           DEBTOR.                §

                                      NOTICE OF APPEARANCE
                                     AND DEMAND FOR SERVICE

            PLEASE TAKE NOTICE that the undersigned, counsel to Armstrong Buttercup Creek,

   LP., a creditor and party-in-interest in the above-referenced case, hereby files this Notice of

   Appearance and Demand for Service of pleadings and Other filings, pursuant to 11 U.S.C. §

   1109(b) and Federal Rules of Bankruptcy Procedure 2002 and 9010(b), and respectfully requests

   that the Clerk place counsel listed below on the matrix and list of creditors, if not already done, so

   as to receive all documents, pleadings, exhibits in this case, and that all notices given or required

   to be served in this case be served at the following address:

                                               Michael Deitch
                                           The Deitch Law Office
                                              800 Rio Grande
                                            Austin, Texas 78701
                                         Telephone: 512/ 474-1554
                                         Facsimile: 512/ 474-1579
                                        Email: mike@deitchlaw.com
                                          and lois@deitchlaw.com

            PLEASE TAKE FURTHER NOTICE that the foregoing simply constitutes a demand and

   request for service and does not constitute a consent to the jurisdiction of the Bankruptcy Court or

   a waiver of the right to a jury trial.
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                                                     Respectfully submitted,

                                                     THE DEITCH LAW OFFICES
                                                     800 Rio Grande
                                                     Austin, TX 78701
                                                     512/ 474-1554
                                                     512/ 474-1579 (fax)
                                                     mike@deitchlaw.com (e-mail)
                                                     brian@deitchlaw.com (e-mail)

                                                     By: /s/ Michael Deitch_____
                                                         MICHAEL DEITCH
                                                         State Bar Number 05644550

                                          COUNSEL FOR Armstrong Buttercup Creek, LP.,

                                      CERTIFICATE OF SERVICE

             The undersigned certifies that on March 21, 2022 a true and correct copy of the foregoing

   was served electronically via the Court’s ECF noticing system on all parties registered to receive

   notice.

                                                         /s/ Michael Deitch___________
                                                         MICHAEL DEITCH
